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 6                  IN THE UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON
 7
     PAUL GANCARZ, an individual;            ) Case No. 2:23-cv-1113
 8   DANIEL TURETCHI, an individual;         )
     COLTON BROWN, an individual;            ) [PROPOSED] ORDER GRANTING
 9   JAMES JOHNSON and AMELIA                ) PLAINTIFFS’ MOTION FOR
     JOHNSON, individually and husband       ) ALTERNATIVE SERVICE, TO
10   and wife,                               ) AMEND CASE CAPTION, AND TO
                                             ) EXTEND TIME FOR SERVICE
11                Plaintiffs,                ) PURSUANT TO FRCP 4(m)
                                             )
12         vs.                               )
                                             )
13   DAVID ALAN CAPITO II, aka               )
     VYACHESLAV ARKANGELSKIY,                )
14   an individual,                          )
                                             )
15               Defendant.                  )
16         Plaintiff brings a Motion for Alternative Service, to Amend Case Caption,
17   and to Extend Time for Service Pursuant to FRCP 4(m). This Court, having
18   reviewed all the pleadings in the file and considered the record, now FINDS:
     [PROPOSED] ORDER GRANTING PLAINTIFFS’
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     MOTION FOR ALTERNATIVE SERVICE, TO
     AMEND CASE CAPTION, AND TO EXTEND TIME
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     FOR SERVICE PURSUANT TO FRCP 4(m)
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 1         1.     There is good cause to include Ryan Smith as an “also known as” or

 2   “aka” identifier for Defendant David Alan Capito II on the Summons by

 3   Publication and to amend the caption in this case to reflect this additional name for

 4   the Defendant.

 5         2.     Plaintiff has made a sufficient factual showing demonstrating (1) that

 6   Defendant Capito could not be found in Washington after a diligent search, (2)

 7   that Defendant Capito was a resident of Washington, and (3) that Defendant Capito

 8   either left the state of Washington or concealed himself within it, with intent to

 9   avoid service of process.

10         3.     There is good cause to extend the time for service in this matter by 75

11   days to allow for service by publication under Washington law.

12         The Court now ORDERS:

13         1.     Plaintiff’s Motion to Amend Case Caption to include Ryan Smith as

14   an “also known as” or “aka” identifier for Defendant David Alan Capito II is

15   GRANTED.

16         2.     Plaintiff’s Motion for Alternative Service by Publication under RCW

17   4.28.100(2) is GRANTED.

18
     [PROPOSED] ORDER GRANTING PLAINTIFFS’
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     MOTION FOR ALTERNATIVE SERVICE, TO
     AMEND CASE CAPTION, AND TO EXTEND TIME
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     FOR SERVICE PURSUANT TO FRCP 4(m)
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 1       3.   Plaintiff’s Motion to Extend Time for Service pursuant to FRCP 4(m)

 2   is GRANTED.

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 4       ENTERED this _____ day of ____________ 2024.

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 6
                                      RICHARD A. JONES
 7                                    United States District Court Judge

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     [PROPOSED] ORDER GRANTING PLAINTIFFS’
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     MOTION FOR ALTERNATIVE SERVICE, TO
     AMEND CASE CAPTION, AND TO EXTEND TIME
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     FOR SERVICE PURSUANT TO FRCP 4(m)
     - Page 3
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